                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION

MARISA REVAK,                                 )
                       Plaintiff,             )
                                              )
v.                                            )      AMENDED JUDGMENT
                                              )      No. 7:18-CV-206-FL
HANS J. MILLER, Sheriff in his official       )
and individual capacity, ONSLOW               )
COUNTY SHERIFF’S OFFICE and THE               )
OHIO CASUALTY INSURANCE                       )
COMPANY                                       )
                      Defendants.             )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of the defendants’ motions to dismiss and motion for summary judgment.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
June 5, 2020 and for the reasons set forth more specifically therein, that defendants’ Onslow County
Sheriff’s Office and Hans J. Miller’s partial motion to dismiss DE36 is granted in part and denied
in part and defendants’ motion to dismiss DE53 is GRANTED. Plaintiff’s retaliation § 1983
and § 1986 claims are DISMISSED WITHOUT PREJUDICE, and plaintiff’s hostile work
environment and NCWHA claims are ALLOWED to proceed. Where defendant OSCO lacks the
capacity to be sued, and where such incapacity cannot be overcome by further factual specificity,
plaintiff’s claims against defendant OSCO are DISMISSED WITH PREJUDICE.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED in accordance with the court’s
order entered August, 16, 2021 and for the reasons set forth more specifically therein, that
defendant Hans J. Miller’s motion for summary judgment is GRANTED.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED in accordance with the court’s
order entered July 8, 2022 and for the reasons set forth more specifically therein, that defendants
are awarded costs in the amount of $7,246.65 pursuant to 28 U.S.C. § 1920.




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This Amended Judgment Filed and Entered on July 8, 2022 and Copies To:
Joseph Erik Hjelt / Michael A. Kornbluth (via CM/ECF Notice of Electronic Filing)
Mary Craven Adams (via CM/ECF Notice of Electronic Filing)

July 8, 2022                       PETER A. MOORE, JR., CLERK

                                     /s/ Sandra K. Collins
                                   (By) Sandra K. Collins, Deputy Clerk




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